8:16-cr-00307-RFR-SMB        Doc # 72    Filed: 05/25/17   Page 1 of 1 - Page ID # 125




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )               8:16CR307
                                            )
      vs.                                   )
                                            )
GUSTAVO ALVARADO-GUERRERO,                  )                 ORDER
KAROLINE ADVIDREZ,                          )
EVERLYN DELGADO,                            )

                    Defendants.


        This matter is before the court on the unopposed Motion to Continue Trial [68]
filed by defendant Gustavo Alvarado Guerrero, Motion to Continue Trial [69] filed by
defendant Karoline Alvidrez and Motion to Continue Trial [70] filed by defendant Everlyn
Delgado. The parties are asking for additional time to complete plea negotiations.
The defendants either have or will comply with NECrimR 12.1(a). For good cause
shown,

        IT IS ORDERED that the Motions to Continue Trial [68] [69] and [70] are granted,
as follows:

      1. The jury trial now set for May 30, 2017 is continued to June 13, 2017.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and June 13, 2017, shall be deemed excludable time in any
         computation of time under the requirement of the Speedy Trial Act. Failure to
         grant a continuance would deny counsel the reasonable time necessary for
         effective preparation, taking into account the exercise of due diligence. 18
         U.S.C. § 3161(h)(7)(A) & (B)(iv).

      DATED May 25, 2017.

                                  BY THE COURT:


                                  s/ Susan M. Bazis
                                  United States Magistrate Judge
